

People v Moore (2024 NY Slip Op 05835)





People v Moore


2024 NY Slip Op 05835


Decided on November 21, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 21, 2024

Before: Webber, J.P., Singh, Gesmer, Pitt-Burke, Michael, JJ. 


Ind No. 2698/15 Appeal No. 3082 Case No. 2018-2109 

[*1]The People of the State of New York, Respondent,
vRobert Moore, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Mark W. Zeno of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Lindsey Richards of counsel), for respondent.



Judgment, Supreme Court, Bronx County (John W. Carter, J.), rendered September 5, 2017, convicting defendant, after a jury trial, of attempted assault in the first degree (two counts), assault in the second degree, attempted assault in the second degree, and criminal mischief in the fourth degree, and sentencing him to an aggregate term of five years to be followed by three years of postrelease supervision, unanimously affirmed.
The verdict was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). There is no basis for disturbing the jury's credibility determinations. The evidence disproved defendant's justification defense beyond a reasonable doubt, where it established that defendant was the initial aggressor and could have retreated in complete safety, but instead ran over to the victim and stabbed him multiple times (see People v Parks, 187 AD3d 644 [1st Dept 2020], lv denied 36 NY3d 974 [2020]; see also Penal Law § 35.15[2][a]). Further, the evidence supports a reasonable inference that defendant acted with the intent to cause serious physical injury when he stabbed the victim twice in the back, and only stopped his attack when his girlfriend pulled him off the victim (see e.g. People v Quattrocchi, 190 AD3d 653, 653 [1st Dept 2021], lv denied 37 NY3d 959 [2021]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 21, 2024








